                 Case 2:15-cv-07425-RGK-PLA Document 333-1 Filed 08/27/18 Page 1 of 2 Page ID
                                                  #:9190


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                        Attorneys for Receiver
                     12 Thomas A. Seaman
                     13                           UNITED STATES DISTRICT COURT
                     14                         CENTRAL DISTRICT OF CALIFORNIA
                     15                                  WESTERN DIVISION
                     16 SECURITIES AND EXCHANGE                  Case No. 2:15-cv-07425 RGK PLA
                        COMMISSION,
                     17                                          [PROPOSED] ORDER GRANTING
                                   Plaintiff,                    ELEVENTH INTERIM FEE
                     18                                          APPLICATION OF ALLEN
                             v.                                  MATKINS LECK GAMBLE
                     19                                          MALLORY & NATSIS LLP,
                        STEVE CHEN, USFIA, INC.,                 GENERAL COUNSEL TO THE
                     20 ALLIANCE FINANCIAL                       RECEIVER, FOR PAYMENT OF
                        GROUP, INC., AMAUCTION, INC.,            FEES AND REIMBURSEMENT OF
                     21 ABORELL MGMT I, LLC, ABORELL             EXPENSES
                     22 ADVISORS I, LLC, ABORELL                 Date:    September 24, 2018
                        REIT II, LLC, AHOME REAL                 Time:    9:00 a.m.
                     23 ESTATE, LLC, ALLIANCE                    Ctrm.:   850
                        NGN, INC., APOLLO REIT I, INC.,          Judge:   Hon. R. Gary Klausner
                     24 APOLLO REIT II, LLC, AMKEY, INC.,
                     25 US CHINA CONSULTATION
                        ASSOCIATION, and QUAIL RANCH
                     26 GOLF COURSE, LLC,
                     27                    Defendants.
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

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                 Case 2:15-cv-07425-RGK-PLA Document 333-1 Filed 08/27/18 Page 2 of 2 Page ID
                                                  #:9191


                      1               The Eleventh Interim Fee Application of Allen Matkins Leck Gamble
                      2 Mallory & Natsis LLP, General Counsel to the Receiver, for Payment of Fees and
                      3 Reimbursement of Expenses ("Application") filed by Allen Matkins Leck Gamble
                      4 Mallory & Natsis LLP ("Allen Matkins"), general counsel to Thomas A. Seaman
                      5 ("Receiver"), the Court-appointed permanent receiver for Defendants USFIA, Inc.,
                      6 Alliance Financial Group, Inc., Amauction, Inc., Aborell Mgmt I, LLC, Aborell
                      7 Advisors I, LLC, Aborell REIT II, LLC, Ahome Real Estate, LLC, Alliance
                      8 NGN, Inc., Apollo REIT I, Inc., Apollo REIT II, LLC, Amkey, Inc., US China
                      9 Consultation Association, Quail Ranch Golf Course, LLC, and their subsidiaries and
                     10 affiliates (collectively, "Receivership Entities"), came on for hearing on
                     11 September 24, 2018. Appearances were as noted on the record.
                     12               The Court having received and read the Application, including any supporting
                     13 declarations and objections filed therein, and being so advised in the matter and
                     14 finding good cause, orders as follows:
                     15               IT IS ORDERED that the Application of Allen Matkins is granted.
                     16               IT IS FURTHER ORDERED that Allen Matkins' fees and costs for the
                     17 Eleventh Application Period are allowed and approved, on an interim basis, in the
                     18 amounts of $75,174.75 and $713.69, respectively.
                     19               IT IS FURTHER ORDERED that the Receiver is authorized and directed to
                     20 pay Allen Matkins $60,139.80 in fees and $713.69 in costs from assets of the
                     21 receivership estate, which amounts reflect an interim payment of 80% of the
                     22 allowed fees and 100% of the allowed costs.
                     23
                     24 Dated:
                                                                        Hon. R. Gary Klausner
                     25                                                 Judge, United States District Court
                     26
                     27
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

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